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                                                                                   2014 Dec-02 PM 04:30
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

JENNIFER CAMPBELL,                       ]
                                         ]
      Plaintiff,                         ]
                                         ]
v.                                       ]             CIVIL ACTION NO.:
                                         ]              2:14-CV-2042-VEH
UNITED RECOVERY                          ]
SYSTEMS LP,                              ]
                                         ]
      Defendant.                         ]

                          FINAL DISMISSAL ORDER

      The Plaintiff has filed today a Notice of Voluntary Dismissal. (Doc. 10). The

Notice states that the dismissal is “with prejudice.” The court notes that Plaintiff

perfected service on the Defendant on October 31, 2014. No answer has been filed by

the Defendant, nor has Plaintiff applied for entry of default by the Clerk of Court. On

December 1, 2014, the Plaintiff was directed to show cause in writing by December

15, 2014, why this action should not be dismissed for failure to prosecute. (Doc. 9).

      Based on the Plaintiff’s Notice of Voluntary Dismissal, this action is hereby

DISMISSED WITH PREJUDICE, costs taxed as paid.

      DONE and ORDERED this 2nd day of December, 2014.



                                              VIRGINIA EMERSON HOPKINS
                                              United States District Judge
